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                               UNITED STATES DISTRICT COURT FOR THE
                                   SOUTHERN DISTRICT OF FLORIDA
                                           M iam iD ivision

                                  CaseN um ber:18-61075-ClV-M OREN O

  M ITZY BATISTA,

                  Plaintiff,
  VS.

  SOUTH FLORIDA W OM AN'S HEA LTH
  ASSOCIATES,IN C.and EDW ARD D . ECKERT,

                  Defendants.


                   ORDER APPR OVIN G SETTLEM ENT AND DISM ISSING CA SE

         THIS CAU SE came before the Courtupon Plaintiffs M otion for Reconsideration of Plaintiffs

  MotiontoApproveSettlement(D.E.28),filedonAuuust27.2918           .



         THE COURT hasconsidered them otion, thepertinentportionsofthe record, and being otherwise

 fully advised in the prem ises, itis

         ADJUD GED thatthem otion isGRANTED and thiscase is DISM ISSED in accordance with the

 term s of the settlem ent. The Court approves the settlement as outlined in the Plaintiffs M otion for

 Reconsideration.TheCourtretainsjurisdictiontoenforcethetermsofthesettlementforsixmonthsand
 to decide the attorney'
                       s fees in this case. Plaintiff shallfile a motion forattorney'
                                                                                    s fees by no laterthan
 September20,20l8.Defendantm ay filea responseby October2, 2018. ltisalso

        ADJUDGED thatthiscase isCLOSED and aIlpending motionsare DEN ED asm oot.
                                                                                >
        DONE AND ORDERED in ChambersatM iam i, Florida,this                 Z ofSeptem ber2018.




                                                FEDE CO A         NO
                                                UNITED STA TES DISTRICT JUDGE
 Copiesfurnished to:
 CounselofRecord
